             Case 3:05-cr-00465-JSW         Document 160         Filed 07/19/06     Page 1 of 2



1    KEVIN V. RYAN (CASBN 118321)
     United States Attorney
2
     MARK L. KROTOSKI (CASBN 138549)
3    Chief, Criminal Division
4    ROBERT DAVID REES (CASBN 229441)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, 11th Floor
6       San Francisco, California 94102
        Telephone: (415) 436-7210
7       Fax: (415) 436-7234
        Email: robert.rees@usdoj.gov
8
     Attorneys for Plaintiff
9
10                                UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO VENUE
13   UNITED STATES OF AMERICA,                     )       No. CR 05 0465 JSW
                                                   )
14           Plaintiff,                            )
                                                   )
15      v.                                         )       STIPULATION AND [PROPOSED]
                                                   )       ORDER CONTINUING SENTENCING
16   LIWEI TAN KUO,                                )       DATE
       a/k/a Grace Tan,                            )
17     a/k/a Li Wei Tan,                           )
       a/k/a Tan Kuo Liwei,                        )
18     a/k/a Grace Kuo,                            )
       a/k/a Li Wei Kuo,                           )
19                                                 )
             Defendant.                            )
20                                                 )
21           The parties hereby stipulate that sentencing in this matter be continued from Thursday,
22   July 20, 2006 at 2:30PM to Thursday, August 24, 2006 at 2:30PM. The reasons for the
23   stipulation for the continuance request are as follows:
24           The defendant failed to appear for her original sentencing date, whereupon the Court
25   issued a bench warrant for her arrest. The defendant was arrested in the Central District of
26   California and is now in federal custody pending her transfer to this District. Conversations
27   between the defense and the United States Marshals indicate that there is a fair probability that
28   the defendant’s transfer will not be complete, and that she cannot be produced, by the currently


     Stipulation and Order Continuing Sentencing Date, CR 05 0465 JSW
            Case 3:05-cr-00465-JSW            Document 160       Filed 07/19/06      Page 2 of 2



1    scheduled sentencing date of July 20, 2006.
2            For these reasons, the parties agree that the sentencing of the defendant before her
3    appearance can be assured would not be efficient. The parties agree that continuing the
4    defendant’s sentencing date until her appearance can be assured is the best approach for the
5    efficient administration of justice in this matter.
6
7    IT IS SO STIPULATED.
8
9    DATED:          July 18, 2006                         KEVIN V. RYAN
                                                           United States Attorney
10
11                                                         __________/s________________
                                                           ROBERT DAVID REES
12                                                         Assistant U.S. Attorney
13
14   DATED:          July 18, 2006                         __________/s__________________
                                                           RICHARD BITTERS, ESQ.
15                                                         Attorney for Defendant
16
17   IT IS SO ORDERED.
18
19   DATED: July 19, 2006                                  ____________________________
                                                           HON. JEFFREY S. WHITE
20                                                         United States District Judge
21
22
23
24
25
26
27
28


     Stipulation and Order Continuing Sentencing Date, CR 05 0465 JSW
